
Bv the Court.
The statute requires the debtor, when issue is joined to “ causé a venire facias to issue and to “ cause the issue joined, as aforesaid, to be tried in turn before the court by She said jury, to be summoned by the sheriff of the county,” and on the trial to “ prove in evidence, and maintain the truth and *352legality of his case according to the issue on his part joined.” In this issue, from the form of the pleadings, the debtor holds the affirmative. The statute further directs, “ that if the jury do find a verdict for the debtor, the court do render judgment that the debtor be discharged.”
From the provisions of the statute, and the nature of the is-she, it is clear that the court erred in entering a default and discharging the debtor without trial or verdict, because the creditor did not appear. The issue joined should have been tried. The debtor should have been required “ to prove in evidence and maintain the truth and legality of his case,” to have sustained to the satisfaction of a jury the affirmative averment of his decla~ ration. A verdict for the debtor was indispensable, to authorize the court to render a judgment of discharge.
Eet the judgment and discharge be reversed.
